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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 14-21385-CIV-LENARD/GOODMAN

  WREAL, LLC,

        Plaintiff,

  v.

  AMAZON.COM, INC.,

        Defendant.
  _______________________/

        ORDER ADOPTING REPORT AND RECOMMENDATIONS ON
   DEFENDANT’S MOTION FOR BILL OF COSTS (D.E. 403), AND GRANTING
   IN PART AND DENYING IN PART DEFENDANT’S MOTION FOR BILL OF
                          COSTS (D.E. 383)

        THIS CAUSE is before the Court on the Report and Recommendations issued by

  Magistrate Judge Jonathan Goodman on December 26, 2019, (“Report,” D.E. 403),

  recommending that the Court grant in part and deny in part Defendant Amazon.com, Inc.’s

  Motion for Bill of Costs, (“Motion,” D.E. 383). Specifically, Judge Goodman recommends

  awarding Amazon $43,497.34 in taxable costs ($20,267.08 less than the requested amount)

  with a post-judgment interest rate of 1.95% applied. (Report at 23.) The Report provides

  the Parties with fourteen (14) days to file objections. As of the date of this Order, no

  objections have been filed. Failure to file objections shall bar parties from attacking on

  appeal the factual findings contained in the report. See Resolution Trust Corp. v. Hallmark

  Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Therefore, after an independent

  review of the Report and record, it is hereby ORDERED AND ADJUDGED that:
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          1.    The Report and Recommendation of the Magistrate Judge issued December

                26, 2019 (D.E. 403) is ADOPTED;

          2.    Defendant Amazon.com, Inc.’s Motion for Bill of Costs (D.E. 383) is

                GRANTED IN PART AND DENIED IN PART;

          3.    Defendant Amazon.com, Inc. shall have and receive from Plaintiff Wreal,

                LLC $43,497.34 in taxable costs which shall accrue post-judgment interest

                at a rate of 1.95%, for which sum let execution issue.

          DONE AND ORDERED in Chambers at Miami, Florida this 15th day of January,

  2020.


                                            ____________________________________
                                            JOAN A. LENARD
                                            UNITED STATES DISTRICT JUDGE




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